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                                                    34 Filed 03/24/20        of 1
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                                                     March 20, 2020                    BAREE N. FETT
                                                                                       STEPHEN KAHN
                                                                                       EVAN M. LA PENNA
         BY ECF                                                                        KRISTEN PERRY – CONIGLIARO
         Honorable Vernon S. Broderick                                                 AIKA DANAYEVA
                                                                                       ARIANA ELEFTERAKIS
         United States District Judge                                                  MICHAEL INDELICATO
                                                                                       MICHAEL MARRON
         Southern District of New York                                                 DOMINICK MINGIONE
                                                                                       MARK NEWMAN
         40 Foley Square                                                               AGGELIKI E. NIKOLAIDIS
                                                                                       JOSEPH PERRY
         New York, New York 10007                                                      MARIE LOUISE PRIOLO *
                                                                                       KEYONTE SUTHERLAND
                                                                                       WAYNE WATTLEY
         Re:      Jacobs, et al. v. City of New York, et al., 18 CV 3275 (VSB)
                                                                                       *Also Admitted In New Jersey

         Your Honor:

               I represent plaintiffs in the above-referenced action. I write jointly with
         defendants to respectfully request a 90-day stay of discovery and associated relief.

                If it should please the Court, the parties have worked to complete the exchange
         of paper discovery, and plaintiffs have forwarded records to a ballistics expert for
         evaluation. While the parties have worked to minimize disruptions, both the review by
         plaintiffs’ expert and the conduct of depositions have been complicated by the
         developing COVID-19 pandemic.

                The parties have conferred and believe a 90-day stay of discovery is prudent at
         this time. Accordingly, the parties respectfully request that: 1) the Court enter a
         discovery stay for 90 days; 2) permit the parties to submit a status letter at the conclusion
         of that period as to whether a further stay is warranted; and 3) at the conclusion of the
         stay, permit the parties to submit a jointly proposed discovery plan to govern the
         remainder of these proceedings.

                  Thank you for your consideration of this request.

                                                     Respectfully submitted,

                                                     Gabriel P. Harvis
         cc:      All Counsel
                3/24/2020
The parties shall file a status update by June 30,
2020. The post-discovery conference scheduled for
April 3, 2020 is adjourned sine die.
